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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :       CASE NO. 17-CR-129 (RDM)
                                              :
                v.                            :
                                              :
MARIO A. TAYLOR,                              :
                                              :
                          Defendant.          :

  GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS AND
       GOVERNMENT’S REQUEST TO CONTINUE THE TRIAL DATE

       The United States of America, by and through its attorney, Jessie K. Liu, the United States

Attorney for the District of Columbia, hereby files this opposition to the defendant’s motion to

dismiss for failure to preserve evidence and government’s request to continue the trial date. In

support of this opposition and request to continue the trial date, the United States relies on the

following points and authorities and any other such points and authorities as may be raised at any

hearing on this matter.

                                        BACKGROUND
       1)       On March 12, 2018, the defendant filed a 12-page motion to dismiss the instant

matter because of a purported failure to preserve evidence. The government will vigorously oppose

this motion and requests sufficient time to respond accordingly.

       2)       Because of the significant implication of the defendant’s motion, the government

is respectfully requesting time to respond (11 days) to said motion consistent with the local rule of

this Court. See, LCrR 47 (b).

       3)       Furthermore, the government has learned today that a critical trial witness, MPD

Officer Casey Logan, will be out of the country from April 1 – April 7, 2018.



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       4)       Consequently, the government is requesting that the current trial date be moved to

a date on or after May 16, 2018.

       5)       Wherefore, the government prays that this Court will grant the government’s instant

request for sufficient time, consistent with the local rules, to respond to defendant’s motion, and

to continue the trial date because of the unavailability of an essential witness.




                                               Respectfully submitted,

                                               JESSIE K. LIU
                                               UNITED STATES ATTORNEY

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